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                          EXHIBIT 3
          Secretary of State Letter to GBI
                        August 2, 2022




PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST DEFENDANTS
                 CCBOER AND COUNSEL
      CGG, et al. v. Coffee Cty. Bd. of Elections and Registration
     United States District Court for the Southern District of Georgia
                    No: 5:23-mc-00001-LGW-BWC
      Case 5:23-mc-00001-LGW-BWC Document 60-3 Filed 02/20/24 Page 2 of 2




                                   The Office of Secretary of State

              Brad Raffensperger                                               Blake Evans
             SECRETARY OF STATE                                           DIRECTOR OF ELECTIONS



                                              August 2, 2022

VIA EMAIL:
Director Vic Reynolds
Georgia Bureau of Investigation
3121 Panthersville Road
Decatur, GA 30034
vic.reynolds@gbi.ga.gov

Re:     Request for Assistance in Investigation

Dear Director Reynolds:

Our office is investigating allegations that unauthorized individuals claim to have accessed
various election materials and equipment in Coffee County, Georgia under case number
SEB2020-250. During the course of our investigation, we have identified evidence that indicates
the possibility of the commission of cyber- and computer-related crimes.

The suspected unauthorized access took place following the January 2021 runoff elections and
the possibly accessed system has not been used in an election since that time.

As a result, I write to request the GBI exercise its authority to assist agencies with investigations
to assist the Secretary of State’s office in its investigation of possible election- and cyber-related
crimes in Coffee County, Georgia.

Please confirm your willingness to assist and assignment of special agents as soon as possible.
Thank you for your assistance in addressing this matter.

Sincerely,

Steven Ellis
Steven Ellis
Deputy General Counsel, Elections, and Investigations



cc:     John Melvin, Assistant Director via email.




                 Georgia Secretary of State Brad Raffensperger’s Office | Elections Division
                  2 MLK Jr. Dr. SE | West Tower | Suite 802 | Atlanta | Georgia | 30334
